Case 2:19-cv-14279-RLR Document 1 Entered on FLSD Docket 08/08/2019 Page 1 of 10




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   DAVID POSCHMANN,

                 Plaintiff,
   v.                                                           CASE NO.

   PELICAN EXECUTIVE SUITES, L.L.C.,

                  Defendant.
   _______________________________________   /
                                             COMPLAINT

          Plaintiff, David Poschmann, by and through his undersigned counsel, hereby sues the

   Defendant, Pelican Executive Suites, L.L.C., for injunctive relief pursuant to the Americans With

   Disabilities Act, 42 U.S.C. §12181, et seq. (the "ADA") and in support thereof states as follows:

                                            JURISDICTION

          1.              This court has subject-matter jurisdiction since this action arises pursuant to 28

   U.S.C. § 1331 and §1343 and Plaintiffs claim arises under 42 U.S.C. §12181 et seq. based upon

   Defendant's violations of Title III of the ADA.

                                                 VENUE

          2.      Venue lies in this district pursuant to 28 U.S.C. § 1391(b) because, inter alia, the

   events giving rise to the claim asserted herein occurred in this district and some of the places of

   lodging whose reservation system is at issue herein are located in this district.

                                                 PARTIES

           3.     Plaintiff, David Poschmann, is an individual residing in this district who is over

   eighteen years of age and sui juris. Plaintiff is disabled as such term is defined by the ADA and

   is substantially limited in performing one or more major life activities due to the amputation of

   his right leg in 2012. Plaintiff uses a wheelchair to ambulate. Plaintiff drives his own specially
Case 2:19-cv-14279-RLR Document 1 Entered on FLSD Docket 08/08/2019 Page 2 of 10



   equipped vehicle and has a valid disabled parking permit from the Florida Department of

   Highway Safety and Motor Vehicles. Defendant's online place of lodging reservation system

   fails to comply with the requirements of 28 C.F.R. §36.302(e) and therefore Plaintiffs full and

   equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

   offered thereon are restricted and limited because of Plaintiff s disability and will be restricted in

   the future unless and until Defendant is compelled to cure the substantive ADA violations

   contained on the place of lodging online reservation system. Plaintiff intends to visit the online

   reservation system for Defendant's places of lodging in the near future to book a guest room and

   utilize the goods, services, facilities, privileges, advantages and/or accommodations being

   offered and/or to test the online reservation system for compliance with 28 C.F.R. §36.302(e).

           4.     Defendant is the owner and operator of Pelican Executive Suites Fort Lauderdale,

   located in this district at 401 North Fort Lauderdale Beach Boulevard in Fort Lauderdale, Florida

   as well as Pelican Executive Suites Miami and Pelican Executive Suites Miami Beach, also

   located in this district and Pelican Executive Suites Boston, Pelican Executive Suites Chicago,

   Pelican Executive Suites Los Angeles Beach Area, Pelican Executive Suites Los Angeles,

   Pelican Executive Suites New Jersey, Pelican Executive Suites Portland, Pelican Executive

   Suites San Diego and Pelican Executive Suites Seattle (the "Places of Lodging"). The online

   reservation system for the Places of Lodging is found at www.pelicanstay.com and

   www.pelicanstayamerica.com. The physical addresses of the Places of Lodging are identified on

   Exhibit "A" hereto, which is incorporated herein by reference.

                   CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

           5.      On July 26,1990, Congress enacted the ADA explaining that the purpose of the

   ADA was to provide a clear and comprehensive national mandate for the elimination of




                                                      2
Case 2:19-cv-14279-RLR Document 1 Entered on FLSD Docket 08/08/2019 Page 3 of 10



  discrimination against individuals with disabilities and to provide clear, strong, consistent,

  enforceable standards addressing said discrimination, invoking the sweep of congressional

  authority in order to address the major areas of discrimination faced day-to-day by people with

  disabilities to ensure that the Federal government plays a central role in enforcing the standards

  set by the ADA. (42 U.S.C. § 12101(b)(l)-(4)).

          6.        Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

  Department of Justice, Office of the Attorney General, published revised regulations for Title III

  of the Americans With Disabilities Act of 1990 in the Federal Register to implement the

  requirements of the ADA. Public accommodations, including places of lodging, were required to

  conform to these regulations on or before March 15, 2012.

           7.       On March 15, 2012, new regulations implementing Title III of the ADA took

  effect, imposing significant new obligations on inns, motels, hotels and other "places of

  lodging". 28 C.F.R. §36.302(e) states:

          "(1) Reservations made by places o f lodging. A public accommodation that owns, leases
  (or leases to), or operates a place of lodging shall, with respect to reservations made by any
  means, including by telephone, in-person, or through a third party -
  (i) Modify its policies, practices, or procedures to ensure that individuals with disabilities can
  make reservations for accessible guest rooms during the same hours and in the same manner
  as individuals who do not need accessible rooms;
  (ii) Identify and describe accessible features in the hotels and guest rooms offered through its
  reservations service in enough detail to reasonably permit individuals with disabilities to assess
  independently whether a given hotel or guest room meets his or her accessibility needs;1



  1 The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions to ADA
  Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial Facilities",
  provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis and guidance, the Department of
  Justice's official comments state that "information about the Hotel should include, at a minimum, information about
  accessible entrances to the hotel, the path of travel to guest check-in and other essential services, and the accessible
  route to the accessible room or rooms. In addition to the room information described above, these hotels should
  provide information about important features that do not comply with the 1991 Standards." An agency's
  interpretation of its own regulations, such as the Department of Justice's interpretation of 28 C.F.R. §36.302(e)(1),
  must be given "substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with
  the regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L.Ed,2d 405 (1994).


                                                             3
Case 2:19-cv-14279-RLR Document 1 Entered on FLSD Docket 08/08/2019 Page 4 of 10



  (iii) Ensure that accessible guest rooms are held for use by individuals with disabilities until all
  other guest rooms of that type have been rented and the accessible room requested is the only
  remaining room of that type;
  (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms and ensure
  that the guest rooms requested are blocked and removed from all reservations systems; and
  (v) Guarantee that the specific accessible guest room reserved through its reservations service is
  held for the reserving customer, regardless of whether a specific room is held in response to
  reservations made by others."
          8.     The Places of Lodging are places of public accommodation that owns and/or

  leases and operates a place of lodging pursuant to the ADA. The Places of Lodging have an

   online reservation system whereby potential patrons may reserve a guest room by the night. The

   reservation system is subject to the requirements of 28 C.F.R.§ 36.302(e) and Defendant is

   responsible for said compliance.

          9.      Most recently, during August, 2019 Plaintiff, from his home in this district,

   attempted to specifically identify and book a guaranteed reservation for an accessible guest room

   at the Pelican Executive Suites Fort Lauderdale through Defendant's online reservation system

   but was unable to do so due to Defendant's failure to comply with the requirements set forth in

   paragraph 7. After the foregoing occurred, Plaintiff attempted to specifically identify and book a

   guaranteed reservation for an accessible guest room at each of the other Places of Lodging on

   Defendant's online reservation system but was unable to do so due to Defendant's failure to

   comply with the requirements set forth in paragraph 7.

           10.    Plaintiff is an advocate of the rights of similarly situated disabled persons and,

   pursuant to Houston v. MarodSupermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), is a "tester"

   for the purpose of asserting his civil rights, monitoring, ensuring, and determining whether

   places of public accommodation, including online reservation systems for places of lodging, are

   in compliance with the ADA.




                                                     4
Case 2:19-cv-14279-RLR Document 1 Entered on FLSD Docket 08/08/2019 Page 5 of 10



          11.    Defendant has discriminated against Plaintiff by denying him access to and full

  and equal enjoyment of the goods, services, facilities, privileges, advantages and

  accommodations offered at the Places of Lodging through its online reservation system due to

  the substantive ADA violations contained thereon.

          12.    The ADA violations for the online reservation system for Defendant's Places of

  Lodging consist of the following:

          a)     A failure of any policy, practice, or procedure ensuring that individuals with
                 disabilities can make reservations for accessible guest rooms at the Places of
                 Lodging during the same hours and in the same manner as individuals who do not
                 need accessible rooms;

          b)     A failure to identify and describe accessible features in the Places of Lodging and
                 guest rooms offered through the reservations service in enough detail to
                 reasonably permit individuals with disabilities to assess independently whether
                 the place of lodging or specific guest rooms meets his or her accessibility needs;

          c)     A failure to ensure that accessible guest rooms at the Places of Lodging
                 are held for use by individuals with disabilities until all other guest rooms
                 of that type have been rented and the accessible room requested is the only
                 remaining room of that type;

          d)      A failure to reserve, upon request, accessible guest rooms or specific types of
                  guest rooms at the Places of Lodging and ensure that the guest rooms requested
                  are blocked and removed from all reservations systems; and

          e)      A failure to guarantee that the specific accessible guest room reserved through the
                  reservations service at the Places of Lodging is held for the reserving customer,
                  regardless of whether a specific room is held in response to reservations made by
                  others.
          13.     Plaintiff is without an adequate remedy at law and is suffering irreparable harm

   and he reasonably anticipates that he will continue to suffer irreparable harm unless and until

   Defendant is required to correct the ADA violations to the online reservation system for its

   Places of Lodging and maintain the online reservation system and accompanying policies in a

   manner that is consistent with and compliant with the requirements of 28 C.F.R. §36.302(e).




                                                    5
Case 2:19-cv-14279-RLR Document 1 Entered on FLSD Docket 08/08/2019 Page 6 of 10



           14.      Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action and is entitled to recover reasonable attorneys’ fees, costs and expenses from Defendant,

  including litigation expenses and costs pursuant to 42 U.S.C. §12205.

           15.      Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority to grant

   injunctive relief to Plaintiff, including an Order compelling Defendant to implement policies,

   consistent with the ADA, to accommodate the disabled, by requiring Defendant to alter and

   maintain its online reservation system in accordance with the requirements set forth in paragraph

   7 above.2

           WHEREFORE, Plaintiff, David Poschmann, requests that the Court issue a permanent

   injunction enjoining Defendant from continuing its discriminatory practices, ordering Defendant

   to implement policies, consistent with the ADA, to accommodate the disabled, through requiring

   Defendant to alter and maintain the online reservation system for the Places of Lodging in




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     The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
   enforce, a policy requiring regular monitoring of its online reservation system. As rates and classes of rooms change
   at its places of lodging, and the number and type of beds, accommodations and amenities offered in the various
   room types change from time to time, the availability of accessible rooms must be re-dispersed across these various
   price points, classes, as well as across rooms with disparate features (2010 ADA Standard 224.5). In light of the
   foregoing, in addition to regular ongoing website maintenance and to reflect physical changes at the places of
   lodging, the online reservation system must continuously be updated to properly reflect and describe Defendant's
   compliance with the substantive ADA Standards regarding accessible places of lodging in accordance with 28
   C.F.R. 36.302(e)(1).


                                                             6
Case 2:19-cv-14279-RLR Document 1 Entered on FLSD Docket 08/08/2019 Page 7 of 10



   accordance with the requirements set forth in paragraph 7 above, and awarding Plaintiff

   reasonable attorneys’ fees, litigation expenses, including expert fees, and costs.

                                                         s/Drew M. Levitt
                                                         DREW M. LEVITT
                                                         Florida Bar No: 782246
                                                         DML2@bellsouth.net
                                                         LEE D. SARKIN
                                                         Florida Bar No. 962848
                                                         lsarkin@aol.com
                                                         4700 N.W. Boca Raton Boulevard, Ste. 302
                                                         Boca Raton, Florida 33431
                                                         Telephone (561) 994-6922
                                                         Facsimile (561) 994-0837
                                                         Attorneys for Plaintiff




                                                     7
Case 2:19-cv-14279-RLR Document 1 Entered on FLSD Docket 08/08/2019 Page 8 of 10



  Pelican Stay Ft. Lauderdale

  Pelican Stay in W Hotel Ft. Lauderdale
  3101 Bayshore Dr., Fort Lauderdale, FL 33304

  Pelican Stay Miami

  Pelican Stay at Brickell
  1451 S. Miami Ave., Miami, FI. 33131

  Pelican Stay in Coral Gables
  4251 Salzedo Street, Miami, FI. 33146

  Pelican Stay in Coconut Grove
  2700 SW 27th Ave., Miami, FI. 33133

  Pelican Stay Miami Beach

  Pelican Stay at Collins Avenue
  5101 Collins Ave., Miami Beach, FI. 33140

  Pelican Stay Boston

  Pelican Stay in Boston Bay Village
  9 Cortes Street, Boston, Ma. 02116

  Pelican Stay in Boston Back Bay
  306 Commonwealth Ave., Boston, Ma. 02115

  Pelican Stay Chicago

  Pelican Stay Magnificent Mile
  200 E Illinois St., Chicago, II. 60611

  Pelican Stay South Loop
  1333 S. Wabash Ave., Chicago, II. 60605

  Pelican Stay River North
  750 N. Hudson Ave., Chicago, II. 60654

  Pelican Stay LA Beach Area

  Pelican Stay Oceanfront City Apartments
  507 Wilshire Blvd., Santa Monica, Ca. 90401

  Pelican Stay Hotel Style Furnished Suites


                                            EXHIBIT
Case 2:19-cv-14279-RLR Document 1 Entered on FLSD Docket 08/08/2019 Page 9 of 10



  2200 Colorado Avenue, Santa Monica, Ca. 90401

  Pelican Stay Los Angeles

  Pelican Stay Corporate Suites near UCLA
  1041 Tiverton Ave., Los Angeles, Ca. 90024

  Pelican Stay Staple Center
  1050 S. Flower St., Los Angeles, Ca. 90015

  Pelican Stay near Little Tokyo
  237 S. Los Angeles St., Los Angeles, Ca. 90012

  Pelican Stay New Jersey

  Pelican Stay near Holland Tunnel
  837 New Jersey Ave., Jersey City, NJ 07310

  Pelican Stay at Newport
  475 Washington Blvd., Jersey City, NJ 07310

  Pelican Stay Portland

   Pelican Stay at Portland University
   1115 SW Market Street, Portland, OR 97201

   Pelican Stay at Pearl District
   1161 Northwest Overton Street, Portland, OR 97209

   Pelican Stay in Portland Pearl District
   123 NW 12th Ave., Portland, OR 97209

   Pelican Stay in Downtown Portland
   750 SW 9th Ave., Portland, OR 97205

   Pelican Stay San Diego

   Pelican Stay in Downtown San Diego
   750 Beech St., San Diego, CA 92101

   Pelican Stay in Gaslamp Quarter
   677 Seventh Ave., San Diego, CA 92101




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Case 2:19-cv-14279-RLR Document 1 Entered on FLSD Docket 08/08/2019 Page 10 of 10




   Pelican Stay Seattle

   Pelican Stay in Stadium District
   80 South Main St., Seattle, WA 98104

   Pelican Stay in Pioneer Square
   400 S. Jackson St., Seattle, WA 98104
